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                                    No.:
 ____________________________              ____________________________

           IN THE UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT
                   ___________________________

                                 In re J.H.

 __________________________           ________________________________



                 from the United States District Court
                  for the Central District of California
         Case# 24-CR-00527 / The Honorable Stephen V. Wilson



_________________________             _________________________________

        PETITION FOR WRIT OF MANDAMUS PURSUANT TO
                        18 U.S.C. § 3771(d)(3)
__________________________             ______________________________


                                                      Caree Annette Harper
                                           LAW OFFICES CAREE HARPER
                                               401 Wilshire Blvd. Suite 1200
                                                    Santa Monica, CA 90401
                                                         (213) 386-5078 Tel.
                                             Email: Ch1@attorneyharper.com


                               Attorneys for Petitioner / Crime Victim “J.H”
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                         PETITION FOR MANDAMUS

      Comes now the Petitioner, J.H., by and through her attorney who pursuant to

18 U.S.C. § 3771(d)(3), Fed. R. App. P. 21, and CIRCUIT 9th Cir. R. 21-5 which

states as follows:

   PREFILING REQUIREMENT AND EMERGENCY NATURE OF THE
                      PRODEEDING


      Unless the litigants of this proceeding, with the approval of the court, have

stipulated to a different time period for consideration, 18 U.S.C. § 3771(d)(3)

requires that this Court must take up and decide this application forthwith within

seventy-two (72) hours after this Petition has been filed. Only a five-day stay is

authorized by the Court under 18 U.S.C. § 3771(d)(3).

      J.H.’s Counsel has provided advance notification to the filing of this Petition

as required under CIRCUIT 9th Cir. R. 21-5.

                                RELIEF SOUGHT

      Petitioner requests that this Honorable Court issue a writ of mandamus under

18 U.S.C. § 3771 directing the United States District Court for the Central District

of California to:

      (1) Stay all proceedings in the case including the sentencing that is scheduled

          for June 2, 2025, for five days as authorized under 18 U.S.C. § 3771(d)(3).

      (2) Accept the Notice of Appearance by counsel for the J.H. (Document 91)

          and rejected by the Court (Document 92)

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      (3) Allow counsel for J.H. to be heard to address the legal interests involving

          J.H.’s rights as a crime victim under 18 U.S.C. § 3771.

      (4) Vacate the dismissal of the part of the indictment that reduced the

          Defendant’s conviction from a felony to a misdemeanor. (Document 103,

          Page 7.)

      (5) Direct that the Court take up and decide J.H.’s assertion of a victim’s right

          forthwith and before the Court determines whether to dismiss the part of

          the indictment that would reduce the Defendant’s conviction from a felony

          to a misdemeanor.

                               ISSUE PRESENTED

        I.   Whether the District Court violated the rights of the victim
             under the Crime Victims’ Rights Act.



             FACTS NECESSARY TO UNDERSTAND THE ISSUES

      The Government charged Defendant with violating 18 U.S.C. § 242, alleging

that he deprived J.H. of her constitutional right to be free from excessive force

under color of law. ECF No. 1. (Document 103, Page 1) According to the

indictment, L. A. Sheriff’s deputy, Defendant Kirk and another deputy were

responding to a possible robbery. Kirk and the other deputy arrived on scene and

handcuffed and detained a man matching the description of the male suspect, while

a female, JH, who matched the description of the female suspect, videotaped the

deputies. While videotaping, JH told Kirk that he had a legal obligation to inform
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DB of the basis for the detention and that she was broadcasting his actions on social

media. The indictment alleges that Kirk then approached JH without giving any

commands and attempted to grab her phone. JH turned away, at which point Kirk,

grabbed JH by her arm, hooked his left hand behind her neck, and violently threw

her to the ground.

      While on the ground, Kirk yelled at JH to “get on the ground”, and she told

him that “it’s already on YouTube Life.” Implying video of Kirk and the other

deputy handcuffing DB had already been made public. Kirk then placed his knee on

JH’s shoulder and when JH yelled for Kirk to “stop” and called him an expletive,

Kirk cocked his right arm back with a clenched fist and said “Stop or you’re gonna

get punched in the face.” Kirk then pressed his knee into JH’s neck and she said

“get your neck [sic] off my …off my… I can’t breathe”. While on top of JH, Kirk

used his LASD radio to misleadingly report that he was in a “fight”.

      Shortly thereafter, without giving any additional commands to JH, Kirk

sprayed her twice in the face with pepper spray. JH received medical attention for

the pepper spray used on her and the injuries she received from being thrown to the

ground. The indictment also alleges that Kirk then drafted and submitted a

misleading report to LASD in which he portrayed JH as a threat to his physical

safety, claiming that JH assaulted him, attempted to hit him, and took a “fighting”

or “bladed” stance.



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       The district court held a three-day jury trial in February, 2025. ECF Nos. 43,

45, 50. The jury returned a guilty verdict to the felony count. (Document 103, Page

1)

       The Defendant moved to set aside the verdict. The Court denied the motion,

finding that the evidence presented at trial was sufficient to support the jury’s

decision. See ECF No. 75. (Document 103, Page 1)

       On May 1, 2025, the Government filed a Rule 11(c) 1 (C) post-verdict Plea

Agreement between the Government and the Defendant. (Document 82).

       On May 7, 2025, attorney Caree Harper filed a Notice of Appearance for

Crime Victim J.H. who planned to fully assert her rights under 18 U.S.C. § 3771.

(Document 91)

       On May 8, 2025, a Notice of Deficiency stating that “the represented party is

not a party to the case.”1 was entered regarding the appearance for J.H. (Document

92).

       On May 13, 2025, the Government’s Response to order of May 6, 2025 was

filed on May 13, 2025, to provide a Memorandum of Points and Authorities

(Document 93) and on May 13, 2025, the Government filed its Position Statement

in Response to Pre-Sentence Report RE: Defendant Travor James Kirk. (Document

94)


1The CVRA changed the justice system not only by making victims independent
participants, but also by creating judicial obligations to “ensure” the rights of
crime victims. (See discussion below)
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      On May 15, 2025, the Government files a Supplemental Response to Order

of May 6, 2025. (Document 95)

      On May 16, 2025, the Defendant joined in the Government’ Fed. R. Crim P,

48(a) motion. (Document 97)

      On May 18, 2025, Crime Victim, J.H. filed an Assertion of Rights under 18

U.S.C. § 3771 on the matters before the court. (Document 100)

      For the first time, in the new Plea Agreement at pages 8-9, it was alleged by

the government that JH “swatted” at Kirk and “resisted”. These new purported

actions of JH were not proven in the criminal trial or testified to in the civil

litigation. The government was allowed to create fake facts and accuse the victim

of lying during the hearing while she was forced to sit and bear it without

opportunity to rebut this new fictional “evidence”. The government even present

still snapshots of the victims hands during the initial takedown (the actual body cam

footage was not used presumably because it was too damning).

      On May 19, 2025, at the sentencing hearing, the District Court acknowledged

reading the impact statement. (Dkt. #100) At that hearing, the Government moved

to dismiss the portions of the indictment against the Defendant that elevated his

charge from a misdemeanor to a felony, namely, the allegations that the Defendant

used a dangerous weapon and that his use of force resulted in bodily injury.

See ECF No. 82. Defendant consented to the Rule 48(a) motion. (Document 103)



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          The victim was granted an opportunity to address the court. (Dkt. 101) The

district court heard argument on the Rule 48(a) motion from the Government who

acted as special defense counsel and at one point even assumed the state of mind of

the Defendant by saying he didn’t grab JH’s hand to stop her from filming but

because the hand was closest to him. Up to that point no one had heard what the

defendant was thinking and unfortunately their were not adversaries to cross-

examine AUSA Keenan as he stepped into the defendant’s shoes as his most zealous

advocate.

          Mr. Keenan went on to say the “trial was flawed, in my view…we have

concerns about the ultimate fairness of the trial,” and “I don't need to worry

about that strict prosecutorial discretion. I can make a judgment on that, and

I don't need the Ninth Circuit to tell me whether I’m right”.1

J.H.’s counsel was not heard on the argument on the Rule 48(a) motion.

          At one point, the district court noted it had “nothing” from the government

except “you're the government. The government indicated it chooses what charges

to bring, and the court would be stepping on the government’s toes by not granting

the Rule 48(a) motion.” When discussing whether there was excessive force the

government argued that the force was “barely excessive”, which the district court

compared to being “a little bit pregnant” and stated there is either “excessive force”




1   Contemporaneous notes of counsel, as time did not allow counsel to get a transcript.
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or there is not. The government argued it has prosecutorial discretion under Article

2 which is where the executive power rests, and there's lots of discretion.

       The government set out new facts and false facts surrounding the crime

including blaming victim J.H., which were different from the facts that were

presented at the trial. Prosecutor Keenan even went so far as to call the victim a liar

by saying: “Ms. [H], in her summary of injuries are inconsistent with the evidence

at trial.” The district court did not agree with the government’s new assessment of

the evidence. (Doc 103, page 3, footnote 2) nonetheless the lower court did a literal

180 degree turn and granted the prosecution’s request for a misdemeanor after

finding “no good cause” or “substantial belief that the Defendant was not guilty.”

Both the Court and AUSA Keenan ignored the victim’s medical records attached as

an Exhibit (Dkt 99 &100).

       Three attorneys resigned from the U.S. Attorney’s Office over this case and

all trial counsel removed themselves as “attorneys of record” the day the new

administration gave the Defendant the post-verdict misdemeanor plea deal.1

       Other facts will be address as needed.




1https://www.dailyjournal.com/article/385880-judge-allows-u-s-attorney-to-downgrade-deputy-
sheriff-s-conviction
https://www.latimes.com/california/story/2025-05-27/federal-judge-drops-felony-charge-
convicted-sheriffs-deputy

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                            STANDARD OF REVIEW

      In deciding a Victim mandamus petition under the Crime Victims’ Rights Act

(hereinafter “CVRA”), the court of appeals shall apply ordinary standards of

appellate     review.                           18      U.S.C.      §      3771(d)(3).

This Petition regarding interpreting J.H.’s rights involve questions of law which are

reviewed de novo. United States v. Bynum, 327 F.3d 986, 991 (9th Cir. 2003)

                REASONS WHY THE WRIT SHOULD ISSUE:

      I.  THE LOWER COURT ERRONEOUSLY RELINQUISHED ITS
      JUDICIAL POWERS TO THE EXECUTIVE BRANCH OF
      GOVERNMENT IN VIOLATION OF THE SEPARATION OF
      POWERS REQUIREMENT.

      The Ninth Circuit needs to intervene immediately to prevent a travesty of

justice wherein the lower Court literally handed over its power to the new

administration’s U.S. Attorney’s Office. The government offered a post-verdict

plea agreement to a defendant who was convicted of felony deprivation of rights, 18

U.S.C. Section 242. The new prosecutor, Mr. Keenan’s tortured argument spanned

from “we are the Government and we can do what we want” to “the trial was unfair

to the Defendant” because he was just a little bit guilty and he is being too severely

punished. The prosecutor accused the former prosecutors from his own office of

making arguments that were not “fair and just” to the Defendant. Not only that,

but that AUSA Keenan said he believed the trial attorneys emphasized potentially

misleading evidence and made arguments not fully supported by evidence. The


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only remedy, according to the new administration, is to strike part of the jury’s

verdict to get the desired result: probation on a misdemeanor.

          In some strange turn, the government somehow convinced the lower

Court that he presided over an “unfair” trial, where three veteran prosecutors

violated their sworn duty and unfairly emphasized incorrect law about violating

policies at the Sheriff’s Department. The prosecutor then took the courtroom on an

into the twilight zone wherein he actually got into the mind of the Defendant (who

took the 5th in both the criminal trial and the civil litigation) and he testified for the

Defendant and explained that Deputy Kirk was not reaching for JH’s cell phone to

stop her from filming - he was merely grabbing the hand that was closest to him.

Mr. Keenan threw every piece of feces onto the courtroom wall and after literally

calling the victim a liar, figuratively calling the judge incompetent, and

intentionally impugning the character of the noble trial counsel/ former prosecutors,

he ended up where he started: “we are the Government and we say so” was the only

rationale offered for the Rule 48(a) motion to be granted.

          The lower Court ignored precedent in Weber1 that found that the government

had “developed a serious and substantial doubt as to [the defendant’s] guilt.”

                            Rule 48 is not "in the public interest"

          "In the public interest" means actions or decisions that benefit the general

well-being of society as a whole. It's about prioritizing the common good over


1   United States v. Weber, 721 F.2d 266, 268 (9th Cir. 1983)
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individual or narrow interests. The prosecutor only advocated for Trevor Kirk.

Neither the lower court nor Mr. Keenan contemplated the chilling affect a ruling

like this will have on potential jurors, witnesses, investigators, etc.

Case law favors denying the R48 motion. The Court repeatedly asked the

prosecution to explain how can I grant this motion when there has been no showing

of “good cause” or “substantial belief that the Defendant is not guilty?” To

date, the government has yet to answer the question.


      II.    Separation of powers demands the role of the Judiciary be respected
             and accorded to prevent an improper amendment to an indictment

      The Fed. R. Crim. P. 48 Motion was not a motion to dismiss a count of the

indictment which in certain circumstances is allowed, but rather a de facto improper

actual amendment of an indictment. While a prosecutor can amend an information,

authority does not exist for a prosecutor to amend an indictment. Which is issued by

a grand jury. In effect, the Court amended part of the indictment to delete that the

Defendant used a weapon and he used force which resulted in bodily injury to J.H.

Not only were the substantive terms of the indictment changed, but also the facts

surrounding the offense was changed substantively from a felony to a misdemeanor.

There is a fundamental distinction between the Information and the Indictment which

must be returned by a grand jury. If the indictment could be changed by the court or

by the prosecutor, then it would no longer be the Indictment returned by the grand

jury and be subject to be set aside.

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       Grand Juries are part of the Judicial Branch of Government and not the

Executive Branch of Government. The Supreme Court, reviewing the history of the

grand jury, quoted Lord Mansfield on the subject: [T]here is a great difference

between amending Indictments and amending Informations. Indictments are found

upon the oaths of a jury, and ought only to be amended by themselves; but

Informations are as declarations in the king's suit. An officer of the Crown has the

right of framing them originally; he may, with leave, amend in like manner, as any

plaintiff may do. Ex parte Bain, 121 U.S. 1, 6 (1887) (Grant a writ of habeas corpus

releasing the defendant as an amended charge was not the charge issued by the grand

jury.) Allowing the Executive Branch to amend an Indictment violates separation

of power founded upon the oaths of a grand jury. The district court was wrong to

allow the Indictment to be amended, and this Court should void what in fact was an

amendment even though couched as a dismissal of part of an Indictment. Contrary

to what the new administration is arguing our country is not being run by and King,

and to say “we are the Government and we can dismiss what we want when we want”

is not sufficient to nullify a jury verdict.

       Fed. R. Crim. P. 32 (k) also requires the Court where there is a jury verdict in

a criminal case be set in the judgment of conviction,

      In the judgment of conviction, the court must set forth the plea, the
      jury verdict or the court's findings, the adjudication, and the sentence.
      If the defendant is found not guilty or is otherwise entitled to be
      discharged, the court must so order. The judge must sign the judgment,
      and the clerk must enter it. (emphasis added)

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      By striking part of the indictment, the jury verdict is inconsistent with the

indictment. While a sentence for the offense rendered by the jury will be a

constitutional sentence, the validity of any conviction under the current posture of

the decision below is potentially void or voidable.   While the defendant joined in

amending the language in the indictment, nothing prevents the Defendant from

challenging his conviction because the amendment was improper under law.

                   JH IS AN INDEPENDENT PARTICIPANT

      In Kenna v. U.S. Dist. Court, 435 F.3d 1011, 1013 (9th Cir. 2006), the Court

indicated,

      The criminal justice system has long functioned on the assumption that crime
      victims should behave like good Victorian children—seen but not heard. The
      Crime Victims' Rights Act sought to change this by making victims
      independent participants in the criminal justice process. See Scott
      Campbell, Stephanie Roper, Wendy Preston, Louarna Gillis, and Nila Lynn
      Crime Victims' Rights Act, Pub. L. No. 108–405, §§ 101–104, 118 Stat.
      2260, 2261–65 (2004) (codified at 18 U.S.C. § 3771).


The CVRA changed the justice system not only by making victim’s independent

participants, but also by creating judicial obligations to “ensure” the rights of crime

victims. As part of the function of the judicial system, Congress has mandated to

ensure victims’ rights. In deciding in Kenna that victims could be personally heard

and not just heard in writing, the Court indicated,

      while allowing the prosecutor and the defendant the opportunity to address
      the court, would treat victims as secondary participants in the sentencing
      process. The CVRA clearly meant to make victims full participants.
      Kenna, 435 F.3d at 1016.

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      This Court envisions that the role of victims in participation in the system

would be more frequent. This Court encouraged district courts to modify their own

procedures to give “full effect” to the CVRA.

      As victim participation in the criminal justice system becomes more
      common, we expect CVRA claims to become more frequent, and thus
      encourage district courts to modify their own procedures so as to give full
      effect to the CVRA. Kenna, 435 F.3d at 1018.

Now almost 20 years after Kenna, this Court must consider what it means for a

victim to be a full participant. The lack of procedures in the district court denied

J.H. the ability to have victim’s counsel enter documents in the same manner as

counsel for the government and the defendant can be heard. The Court’s order

dismissing portions of the indictment improperly failed to consider and address

J.H.’s rights as a crime victim and thus denied J.H. the rule of law.

   III. THE DISTRICT COURT IMPROPERLY DENIED PETITIONER’S
   RIGHTS UNDER THE CRIME VICTIMS’ RIGHTS ACT & ALLOWED U.S.
   ATTORNEY TO ARGUE AGAINST VICTIM’S INTEREST IN A CONFLICT OF INTEREST.


      A.     THE CRIME VICTIMS RIGHTS ACT (CVRA) PROVIDE
             CRIME VICTIMS WITH IMPORTANT RIGHTS THAT
             INCLUDES A CONCOMITANT JUDICIAL OBLIGATION TO
             ENSURE THOSE RIGHTS THAT WAS DENIED BELOW

       18 U.S.C. § 3771(a) enumerates the rights granted to a crime victim

including:

             (4) The right to be reasonably heard at any public proceeding in the
             district court involving release, plea, sentencing, or any parole
             proceeding;
              (8) The right to be treated with fairness and with respect for the victim’s
             dignity and privacy.
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18 U.S.C. § 3771(b)(1) establishes responsibilities of the judicial to ensure victims

rights including stating clearly on the record the reasons for denying relief to victims.

             In any court proceeding involving an offense against a crime victim, the
             court shall ensure that the crime victim is afforded the rights described
             in subsection (a). …. The reasons for any decision denying relief under
             this chapter shall be clearly stated on the record.

The government is required to advise a crime victim may seek the advice of an

attorney regarding the victim’s rights under the CVRA. 18 U.S.C. § 3771(c)(2).

Moreover, the Government must use best efforts to accord victims of their rights

under the CVRA. 18 U.S.C. § 3771(c)(2).

      Acknowledging at the hearing on May 19th that the district court had seen the

pleading filed by J.H.’s counsel, the district court never clearly stated on the record

that it considered the victim’s interests nor the reasons for denying the relief sought

by J.H. By agreement, the government and the defendant agreed to dismiss part of

an indictment which had the effect of modifying the maximum possible sentence

from ten years to one year. There is no authority that allows part of an indictment

to be dismissed. In essence, the parties sought to substantively amend part of an

indictment which is not allowed other than by members of a grand jury. infra.

      Courts must consider and not ignore the interests of crime victims. Cf. Morris

v. Slappy, 461 U.S. 1, 14 (1983) (“But in the administration of criminal justice, courts

may not ignore the concerns of victims.”). Being reasonably heard and fairness



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includes not just hearing the words of a victim, but also considering those interests

and ruling on those interests. infra.

      B.     THE DISTRICT COURT FAILED TO COMPLY WITH THE
             MANDATE OF THE CRIME VICTIMS’ RIGHTS ACT TO
             ACCORD J.H. THE RULE OF LAW.

      The District Court itself is obligated to ensure that J.H. is afforded the rights

subscribed in subsection (a) of 18 U.S.C. § 3771.        18 U.S.C. § 3771(b) (“In any

court proceedings involving an offense against a crime victim, the court shall ensure

that the crime victim is afforded the rights described in subsection (a).”). To this end,

the CVRA plainly states that “The district court shall take up and decide any motion

asserting a victim’s right forthwith.” 18 U.S.C. § 3771(c)(3) (emphasis added). The

failure of the district court to rule on the motion for a three-month period can be

construed as an effective denial of rights under the CVRA. In re Simons, 567 F.3d

800, 801 (6th Cir. 2009) (Noting that may not have been any substantive proceedings

in the criminal action during this three-month period, the sealing of the record

prevented the petitioner from determining whether his rights under the statute were

being violated.) While there is not a long period as is Simons, here there was a

substantive proceeding to erase the Defendant’s felony conviction that adversely

impacted J.H.’s rights as a crime victim. Determining and applying victim’s rights

accords a crime victim with the right “to be treated with fairness and with respect for

the victim's dignity....” 18 U.S.C. § 3771(a)(8). Id. at 801. While the District Court

has not ruled, its failure to decide the matter forthwith before determining substantive

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issues impacting victim’s rights is a de facto denial of rights. See also, Morris v.

Slappy, 461 U.S. 1, 14 (1983) (“But in the administration of criminal justice, courts

may not ignore the concerns of victims.”).

      By its post hoc attempt to change the facts as found by the jury, including

attacking JH, JH was denied her right to be treated with respect for her dignity. By

the district court’s acquiescence to the Government’s authority and actions without

considering contradictory legal authority, the court denied J.H. her right to be heard

and right to be treated with respect for her dignity. J.H. deserves the rule of law.

      C. THE DISTRICT COURT’S SEPARATION                OF   POWER’S ANALYSIS          IS
          MISPLACED AND INCORRECT AS APPLIED

      Fundamentally, it was an error below to defer to the Government. Contrary

to the Government, the judicial branch does not have to agree with the executive

branch under the Constitution under a Rule 48(a) motion. Here, the Rule 48(a) was

not even a proper Rule 48(a) motion. There is no presumption of correctness to the

Government as appears to have been provided below. The decision below was not

in accord with precedent or the rule of law.

             1. Separation of powers demands the role of the Judiciary be
                respected and accorded under a Fed. R. Crim. P. 48(a)
                motion


      In footnote 14 of the district court’s order, the court deferred to the

executive branch based upon separation of powers principles. The lower court:

      The Court is not aware of—and the Government did not cite—any published
      cases where a court dismisses only a portion of a single count of an indictment
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       pursuant to Fed. R. Crim. P. 48 after a jury verdict. Each of Rinaldi¸ Weber,
       Gonzalez, and Garcia-Valenzuela involved either a complete dismissal of an
       indictment, or a dismissal of entire counts of an indictment. However, given
       the separation of power principles at play, and the broad deference that must
       be given to the executive in charging decisions, this distinction is immaterial.
       See United States v. Miller, 722 F.2d 562, 564 (9th Cir. 1983) (in making a
       charging decision, the prosecution makes “an executive choice”
       and “his discretion is almost absolute”). (Document 103, Page 4) 1

       It is true that prior to criminal charges being filed, the executive branch has a

broad deference in what criminal charges to bring. However, once a federal criminal

case is filed, that case invokes the jurisdiction of the federal judiciary.                     The

Government is a party to that case, but the matter itself is under the judicial branch

and subject to judicial practices. The judiciary is an independent branch of

government and not subject to the will of the executive branch. For example, under

Fed. R. Crim. P. 48 to dismiss a case, leave of court is required.2 The leave of court

requirement is derived from separation of powers and is constitutional.

       The Attorney General stakes his claim to absolute power to dismiss the
       proceedings even without “leave of court” squarely upon the Doctrine
       of Separation of Powers as derived from the provisions of the

1 The lack of any case law allowing a court to dismiss only a portion of a single count of an
indictment pursuant to Fed. R. Crim. P. 48 after a jury verdict suggest that no authority exists for
the extraordinary request. In fact, the district court striking part of the indictment violated
established caselaw that indictment cannot be amended. The parties cannot by consent confer
jurisdiction as occurred below. Infra.
2
  Rule 48. Dismissal
(a) By the Government. The government may, with leave of court, dismiss an indictment,
information, or complaint. The government may not dismiss the prosecution during trial without
the defendant's consent.
(b) By the Court. The court may dismiss an indictment, information, or complaint if unnecessary
delay occurs in:
(1) presenting a charge to a grand jury;
(2) filing an information against a defendant; or
(3) bringing a defendant to trial.

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      Constitution establishing three separate, but co-equal branches of
      government, each supreme in its own sphere; and more particularly
      upon Article II, Section 3 which provides in material part that the
      President “shall take Care that the Laws be faithfully executed” and
      upon 28 U.S.C. ss 516, 519, empowering the Attorney General as
      surrogate of the President to conduct or supervise all litigation in
      which the government is a party. The court-appointed prosecutors
      counter that the Doctrine of Separation of Powers implied in the
      Constitution does not cast the three branches of our government into
      water-tight compartments; that room is left for some commingling of
      responsibilities in the orderly administration of governmental affairs;
      that by the promulgation of Rule 48(a) as part of the Rules of Criminal
      Procedure, Congress intended to vest in the courts a shared
      responsibility for the dismissal of prosecutions once lodged in the
      court; and that the power to grant leave to dismiss a criminal
      prosecution carries with it the correlative power to exercise a
      discretion to deny leave to dismiss and, if necessary, to effectuate such
      denial by the appointment of private prosecutors.

United States v. Cowan, 524 F.2d 504, 507 (5th Cir. 1975). See also. United States

v. Biddings, 416 F. Supp. 673, 675 (N.D. Ill. 1976) (Rejecting dismissal and

indicating “The manifest public interest, represented by several unrecanting

victims, requires a trial to vindicate them or the defendant, as alternatively

requested by his attorney.”)

      Notably all of the cases cited by the lower court in dismissing part of a count

of an Indictment predated the 2004 enactment of the CVRA.           None of those

cases relied on by the district court considered the judicial obligation under 18

U.S.C. § 3771(b)(1). Regarding dismissal of a criminal case, hearing a victim's

views on the motion to dismiss is important for fairness to victims that is required

under the CVRA. United States v. Heaton, 458 F. Supp. 2d 1271, 1273 (D. Utah

2006).
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      When the government files a motion to dismiss criminal charges that
      involve a specific victim, the only way to protect the victim's right to
      be treated fairly and with respect for her dignity is to consider the
      victim's views on the dismissal. It is hard to begin to understand how a
      victim would be treated with fairness if the court acted precipitously to
      approve dismissal of a case without even troubling to consider the
      victim's views. To treat a person with “fairness” is generally
      understood as treating them “justly” and “equitably.” A victim is not
      treated justly and equitably if her views are not even before the court.
      Likewise, to grant the motion without knowing what the victim
      thought would be a plain affront to the victim's dignity. Indeed, even
      the pre-CVRA case law recognized a dismissal to be “clearly contrary
      to the public interest” if the prosecutor appeared to be motivated to
      dismiss by animus toward the victim. The court cannot make a fully
      informed decision about whether the prosecutor is acting out of animus
      to a victim without having the victim's views on the subject. Id. at
      1272–73
      As recognized by the Court of Appeals for the Fifth Circuit in a post

CVRA case regarding a Fed. R. Crim. P. 48(a) dismissal, the judicial rule

must validate the public interest including crime victim’s rights,


      But in both cases—an accepted/rejected Rule 11 guilty plea or a
      granted/denied Rule 48(a) dismissal—the public interest, especially
      that of crime victims, rests crucially on court-approval. In short, the
      judicial role stays present and constant throughout, and courts must
      validate the public interest, above all, including rights that Congress
      has given to crime victims. In re Ryan, 88 F.4th 614, 626 (5th Cir.
      2023)
In footnote 2, the district court indicated,

      To be clear, the Court is not saying that it agrees with the Government’s
      assessment of the case. But the Court’s assessment of the case
      is immaterial. What matters is what prompted the Government to bring the
      Fed. R. Crim. P. 48(a) motion. The Government’s new view of the evidence
      is relevant to that question regardless of whether the Court agrees with the
      Government’s analysis. (Document 103, Page 3)



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      The district court is wrong that its assessment is immaterial. The district

court’s assessment as well as this Court’s assessment is crucial to validate the

public’s interest including the rights given to crime victim. If the government and

the defendant can adopt a new view of the evidence favoring the defendant’s

unproven theory of the case that negates the jury verdict and the district court’s

assessment of the evidence, that is contrary to the interest of justice including the

rights of victims. 1

      The district court order failed to even mention the crime victims’ rights

despite J.H.’s counsel attempting to address the importance of victim’s rights and

interests. (Document 103) The proceedings below did not include forthwith review

as required by law. It did not comply with setting reason on the record. supra. It is

not ensuring a constant judicial role in ensuring victim’s rights as required by law.

The broad deference given to the executive branch is inconsistent with the

separation powers of the judiciary and contrary to J.H.’s interest as a crime victim.

    D.     THE WRIT IS APPROPRIATE AND SHOULD ISSUE UNDER THE
                           CIRCUMSTANCES.
      A writ here is entirely appropriate under the circumstances. The Supreme

Court has recognized that victims of crime have powerful and legitimate interest in



1 The statute only required injury and not serious bodily injury. The facts were that
a weapon – pepper spray was used and there were injuries. The analysis of whether
there was an injury is similar to the analysis of whether an individual is either
pregnant or not. While the degree of injury may have applicability in sentencing
factors under the Sentencing Guidelines or for a departure, those were facts found
by a jury as part of the judicial process.
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punishing the guilty. Calderon v. Thompson, 523 U.S. 538, 556 (1998). In simple

terms, as the district court failed to respect the rights and interests of the victim

before vacating part of the indictment, this Court should direct the district court to

redetermine the matter de novo. Cf. United States v. Stevens, 239 F. Supp. 3d 417,

425 (D. Conn. 2017). (The sound administration of justice demands the rejection of

actions that fail to respect the rights of crime victims) This Court’s writ should

provide proper guidance in future proceedings in this matter in accord with the rule

of law.

          The jury finding of the Defendant committed a felony offense and the

seriousness of those consequences provided J.H. a modicum of justice that recognizes

the harm she received. Justice and fairness for all means this Court should issue a

writ of mandamus. The CVRA clearly requires that “In any court proceeding

involving an offense against a crime victim, the court shall ensure that the crime

victim is afforded the rights described in subsection (a) [Rights of crime victims].”

18 U.S.C. § 3771(b)(1) (emphasis added).

      ///

      ///




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      Further proceedings in the district court where the court should consider

argument from Crime Victim J.H.’s counsel including the contrary authority not

previous considered by the court below as well as ensures the victim’s right to

fairness and respect for J.H.’s dignity.

Dated: June 2, 2025                                         Respectfully submitted,

                                                                     /s/ Caree Harper
                                           Attorney for Petitioner/ Crime Victim “J.H.”




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                      CERTIFICATE OF COMPLIANCE

      This brief complies with the word limit of Circuit Rule 32-1(b) because it

contains 6097 words, excluding the portions exempted by Rule 32(f) of the Federal

Rules of Appellate Procedure.

      This brief complies with the typeface and type-style requirements of Federal

Rule of Appellate Procedure 32(a)(5)(A) and (a)(6) because it has been prepared in a

proportionally spaced typeface using Microsoft Word in 14-point TIMES NEW

ROMAN font.

      Dated: JUNE 2, 2025       Respectfully submitted,

                                 /s/ Caree Harper
                                Attorney for Crime Victim “J.H.”




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